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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Nancy A. Moreno and Monti Moreno,                           Court File No.: 18-CV-2760
                                                                             (PJS/DTS)
                            Plaintiffs,
v.
                                                 PLAINTIFFS’ MEMORANDUM OF
Wells Fargo Bank, N.A.,                              LAW IN SUPPORT OF THEIR
                                                           MOTION TO STRIKE
                            Defendant.


                                    INTRODUCTION

      Recognizing its failure to sustain its burden of proof on its own motion for

summary judgment, Wells Fargo Bank, N.A. (“Wells Fargo”) filed the declarations of

Blanca Oliver (Doc. 36) and Charles Webber (Doc. 37) on reply (collectively “the Reply

Declarations”). In so doing, Wells Fargo not only violated this Court’s Local Rules that

prohibit offering additional evidence on reply, but robbed the parties of a realistic

opportunity to meet-and-confer on the topic of Wells Fargo’s motion for summary

judgment.      The Morenos now respectfully request that the Court strike the Reply

Declarations or, in the alternative, request that the Court award them the attorneys’ fees

that they incurred in connection with Wells Fargo’s motion for summary judgment and

this motion.
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                                        ARGUMENT

I.       THE COURT SHOULD STRIKE THE DECLARATION OF BLANCA
         OLIVER AND CHARLES WEBBER BECAUSE WELLS FARGO FAILED
         TO FILE SUCH DECLARATION IN ITS ORIGINAL MOVING PAPERS
         OR SHOULD AWARD THE MORENOS ATTORNEYS’ FEES.

         Local Rule 7.1(b)(3) permits a moving party to file a “reply memorandum of law”

in support of a dispositive motion. But it does not permit a moving party to offer

evidence on reply, including additional affidavits or sworn declarations.          The 1999

Advisory Committee Note to Local Rule 7.1(b) acknowledges that the rule does not

permit reply affidavits and concludes that “[r]eply affidavits are appropriate only when

necessary to address factual claims of the responding party that were not reasonably

anticipated.”

         This Court has previously stricken or otherwise declined to consider affidavits and

sworn declarations submitted on reply memoranda. For example, in Buffets, Inc. v.

Leischow, the Eighth Circuit upheld this Court’s decision to reject evidence submitted

with a reply memorandum, reasoning as follows:

                The district court has considerable discretion in applying its local
                rules, and we conclude that the court did not abuse its discretion by
                rejecting evidence that Buffets proffered with its reply
                memorandum. Buffets’ evidence was readily available when it filed
                its initial moving papers, and it was reasonable for the district court
                to enforce its local requirement that where a movant reasonably
                should anticipate that an issue will be addressed by the court, the
                movant must present evidence with its motion rather than wait until
                a reply, at which point the opposing party has no opportunity to
                respond in the normal briefing process.1


1
    732 F.3d 889, 895 (8th Cir. 2013) (emphasis added).

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Then, in Thomas W. Lyons, Inc. v. Sonus-USA, Inc., this Court struck an affidavit based

on Local Rule 7.1(b)(3) because it was filed on reply for a motion for summary judgment

and the affidavit was therefore not part of the record of the original moving papers.2

       Here, the Court should strike the Reply Declarations because Wells Fargo could

have—and should have—offered such evidence in its initial moving papers. Just like in

Buffets, Inc., the Reply Declarations were readily accessible to Wells Fargo when it filed

its initial moving papers. Indeed, there is no evidence that the Reply Declarations were

somehow unavailable or that Wells Fargo could not have anticipated the Morenos taking

it to task for failing to meet Wells Fargo’s burden of proof.

       Make no mistake: Wells Fargo was required to produce the Reply Declarations in

support of its motion. A moving party must establish a prima facie case on summary

judgment, and can do so by offering admissible evidence in the way of sworn testimony

(affidavits, declarations, or deposition testimony) or documents that establish the facts as

the moving party claims them.3 In Bedford v. Doe, the Eighth Circuit stated that “[t]he

moving party can satisfy its burden in either of two ways: it can produce evidence

negating an essential element of the nonmoving party’s case, or it can show that the

nonmoving party does not have enough evidence of an essential element of its claim to



2
  2009 WL 306703 *8-9 (D. Minn. 2009); See also, Black v. Independent School Dist.
No. 316, 476 F.Supp.2d 1115, 1118 n. 2 (D. Minn. 2007)(noting that moving parties
should file any affidavits in support of dispositive motions along with their moving
briefs).
3
  Bedford v. Doe, 880 F.3d 993, 996 (8th Cir. 2018)(citing Torgerson v. City of
Rochester, 643 F.3d 1031, 1042 (8th Cir. 2011) (en banc)).

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carry its ultimate burden of persuasion at trial.”4 In its motion for summary judgment,

Wells Fargo chose the former—produce evidence negating an essential element—but

failed to produce the actual evidence negating the essential element.

         The Court should strike the Reply Declarations as a result of Wells Fargo’s failure

to comply with Local Rule 7.1(b)(3), but if the Court chooses not to do so, at the very

least, the Court should award the Morenos the attorneys’ fees they incurred in connection

with this motion and in responding to Wells Fargo’s motion for summary judgment.

         Local Rule 7.1(a) required Wells Fargo to meet-and-confer in a good-faith effort

to resolve the issues presented by its motion for summary judgment. To Wells Fargo’s

credit, its counsel contacted the Morenos’ counsel prior to filing its motion for summary

judgment to discuss the motion. Wells Fargo even provided a copy of the memorandum

of law in support of summary judgment to help facilitate the meet-and-confer. But that

memorandum was the exact memorandum that Wells Fargo submitted in support of its

motion for summary judgment. The Morenos’ counsel carefully reviewed it and, at least

in part, determined that the Morenos should not stipulate to the relief requested based on

the fact that Wells Fargo could not apparently support the claims it was making (as the

Morenos pointed out in their response to summary judgment).              Had Wells Fargo

presented all of its evidence during the meet-and-confer, the Morenos’ counsel may very

well have recommended something different. And if he had, the Morenos would not

have incurred attorneys’ fees to respond to the motion for summary judgment and to draft


4
    Id. (emphasis added).

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this motion. The Court should not condone this bait-and-switch. So if the Court is not

inclined to strike the Reply Declarations it should at least award the Morenos the

attorneys’ fees they incurred.

                                    CONCLUSION

       For the reasons described above, the Court should strike the Reply Declarations or,

in the alternative, award the Morenos the attorneys’ fees that they incurred in connection

with Wells Fargo’s motion for summary judgment and this motion.



Dated: October 28, 2019                         DOUGHERTY, MOLENDA,
                                                SOLFEST, HILLS & BAUER P.A.


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